Case 18-51344-lrc     Doc 13     Filed 03/19/18 Entered 03/19/18 10:00:14              Desc Main
                                 Document      Page 1 of 4



                              IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF GEORGIA
                                          ATLANTA DIVISION

     In re:                                                         Chapter 13

     STEPHANIE ROCHELLE BENNETT,                                    Case No. 18-51344-LRC
          Debtor(s)

     ONEMAIN FINANCIAL SERVICES,
         Movant

     v.

     STEPHANIE ROCHELLE BENNETT,
          Respondent(s)


                  OBJECTION TO CONFIRMATION OF DEBTOR(S) CHAPTER 13 PLAN

              COMES NOW, ONEMAIN FINANCIAL SERVICES and files this objection to the confirmation

     of the above-styled debtor(s) Chapter 13 plan as proposed and respectfully shows the Court the

     following:

                                                     1.

              This proceeding arises under 11 U.S.C. Chapter 13 of the Bankruptcy Code on the petition

     filed by the debtor(s) on January 29, 2018.

                                                     2.

              OneMain Financial Services is a secured creditor, secured by a jewelry collection, as

     evidenced by the Proof of Claim and supporting documents filed with the Court.

                                                     3.

              Movant, OneMain Financial Services, shows the debtor(s) has/have proposed to pay its

     claim as an unsecured claim in the total amount of $4,905.90.

                                                          4.

              The Movant herein asserts the debtor(s) has/have failed to properly value the collateral in

     which it holds a security interest, with the Movant and creditor herein objecting to the debtor(s)



                                                     1
Case 18-51344-lrc     Doc 13      Filed 03/19/18 Entered 03/19/18 10:00:14              Desc Main
                                  Document      Page 2 of 4




     valuation thereon and asserting its collateral is of a value equal to or in excess of $4,905.90.

                                                        5.

             The Movant asserts it does not have adequate protection under the debtor(s) plan as

     proposed for its secured interest in the property as set forth herein and in the Movant's Proof of Claim

     and supporting documents.

                                                        6.

             OneMain Financial Services asserts it collateral is depreciating over use and time and at a

     rate in excess of the payments as provided under debtor(s) plan.

                                                        7.

             Said creditor objects to the confirmation of the Chapter 13 plan on the grounds that the plan:

             (a) Does not comply with the provisions of Chapter 13 of the Bankruptcy Code;

             (b) Does not comply with the provisions necessary as set forth in 11 U.S.C. Section 1325;

             (c) Is not in compliance with Section 1322 of the Bankruptcy Code;

             (d) Has not been proposed in good faith;

             (e) Attempts to modify the rights of a holder of a secured claim and fails to properly protect

     the claim of a creditor;

             (f) Fails to adequately provide for a plan, which will give the creditor the same or equivalent

     benefits that it would receive under a Chapter 7 liquidation.

             WHEREFORE, OneMain Financial Services, respectfully requests:

             (a) That this, its objection be allowed;

             (b) That debtor(s) Chapter 13 plan as proposed be denied confirmation;

             (c) That should the debtor(s) Chapter 13 plan as proposed be approved, it shall be subject

     to the debtor(s) returning to the Movant herein all the property held by the petitioner as collateral;

             (d) That Movant be granted attorney's fees for the prosecution of this action; and



                                                        2
Case 18-51344-lrc    Doc 13     Filed 03/19/18 Entered 03/19/18 10:00:14                Desc Main
                                Document      Page 3 of 4
            (e) That Movant have such other and further relief as is just and proper.



                                                     /s/ Emmett L. Goodman, Jr.
                                                  EMMETT L. GOODMAN, JR.
                                                  Attorney for OneMain Financial Services
     EMMETT L. GOODMAN, JR., LLC
     544 Mulberry Street, Ste. 800
     Macon, GA 31201
     Telephone: (478) 745-5415
     Email: bkydept@goodmanlaw.org




                                                   3
Case 18-51344-lrc    Doc 13     Filed 03/19/18 Entered 03/19/18 10:00:14             Desc Main
                                Document      Page 4 of 4
                                             CERTIFICATE OF SERVICE

            I, Emmett L. Goodman, Jr., do certify that I have served the debtor(s), debtor’s(s’)

     attorney, and the Chapter 13 Trustee with a true and correct copy of the within and foregoing Objection

     to Confirmation by depositing a copy of the same to each in the United States Mail in a properly

     addressed envelope with adequate postage thereon to:

     Ms. Stephanie Rochelle Bennett
     2825 Northeast Expressway, NE, Apt. N4
     Atlanta GA 30345

     Ms. Cha-Mecca Evangeline White
     Attorney At Law
     303 Perimeter Center N, Ste. 201
     Atlanta GA 30346

     Ms. Melissa J. Davey
     Chapter 13 Trustee
     260 Peachtree Street, N.W.
     Suite 200
     Atlanta GA 30303

            Dated: March 16, 2018.



                                                    /s/ Emmett L. Goodman, Jr.
                                                   EMMETT L. GOODMAN, JR.
                                                   Attorney for Movant

     EMMETT L. GOODMAN, JR., LLC
     544 Mulberry Street, Ste. 800
     Macon, GA 31201
     Telephone: (478) 745-5415
     Email: bkydept@goodmanlaw.org




                                                    4
